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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN, et al.,

                        Plaintiffs,               Case No. 1:21-cv-03354 (BAH)

                v.                                Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendant.




  DECLARATION OF MERYL C. GOVERNSKI IN SUPPORT OF PLAINTIFFS’
MOTION TO COMPEL GIULIANI PARTNERS AND GIULIANI COMMUNICATIONS
  TO RESPOND TO PLAINTIFFS’ PROPERLY-SERVED RULE 45 SUBPOENAS



I, Meryl C. Governski, pursuant to 28 U.S.C. § 1746 hereby declare as follows:

     1.        I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration.   The evidence set out in the following Declaration is based on my personal

knowledge.

     2.        I represent Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above

captioned case, and submit this Declaration in support of Plaintiffs’ Motion to Compel Giuliani

Partners and Giuliani Communications to Respond to Plaintiffs’ Properly-Served Rule 45

Subpoenas (“Motion”).

     3.        Produced and publically available documents demonstrate that at least eight email

addresses associated with the Giuliani Businesses were involved in relevant, discoverable

communications, including rudolph.giuliani@giulianipartners.com; rudy@giulianipartners.com;

press@giulianipartners.com;                            annemarie.cretella@giulianiparters.com;
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maria.ryan@giulianipartners.com;                            joann.zafonte@giulianipartners.com;

ryan.medrano@giulianipartners.com; and info@giulianiparters.com.

     4.        Pursuant to the Court’s Standing Order 5b, attached is an index of the exhibits that

are listed below.

     5.        Attached as Exhibit 1 is a true and correct copy of the Plaintiff’s Rule 45 subpoena

for documents served on Giuliani Partners, via its registered agent, dated April 26, 2023.

     6.        Attached as Exhibit 2 is a true and correct copy of the Plaintiff’s Rule 45 subpoena

for documents served on Giuliani Communications, via its registered agent, dated May 11, 2023.

     7.        Attached as Exhibit 3 is a true and accurate copy of the cited portions of the

transcript of the March 1, 2023 deposition of Defendant Giuliani in New York City.

     8.        Attached as Exhibit 4 is a true and accurate copy of the Articles of Organization

of Giuliani Media LLC, dated November 14, 2019 and the Certificate of Amendment of the

Articles of Organization of Giuliani Media LLC, changing the entity’s name to Giuliani

Communications LLC on March 27, 2020. These documents were both filed with the State of

New York Department of State.

     9.        Attached as Exhibit 5 is a true and accurate copy of the Certification of Formation

of Giuliani Partners LLC, dated December 21, 2001, filed with the State of Delaware Secretary

of State, Divisions of Corporations.

     10.       Attached as Exhibit 6 is a true and correct copy of an email chain between A.

Houghton-Larsen, myself, J. Sibley, and others, titled Re: Freeman v. Giuliani - Giuliani

Partners & Communications, dated May 17, 2023 to May 24, 2023.

     11.       I declare under penalty of perjury that the foregoing is true and correct.




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Executed on June 16, 2023.


                                           /s/ Meryl C. Governski
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                                           Attorney for Plaintiffs Ruby Freeman and
                                           Wandrea’ Moss




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